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                                                                                   Joshua Adam Schulte, prose

                                                                                    June 4, 2022
             BY HAND
             Judge Jesse M. Furman
             United States District Judge
             Southern District of New York
             40 Foley Square
             New York, New York 10007
                      RE: United States v. Joshua Adam Schulte, S3 17 Cr. 548 (JMF)


             Dear Judge Furman:
                      The MDC ignored your request to ensure the law library com�uter is functional. It
             crashed once again on Tuesday, May 31, 2022. I informed the officers and wrote a BP-8. It was
             still down on Wednesday, June i st (but I had no laptop anyway). As of today, Saturday, June 4,
            2022, it is still crashed-someone simply needs to press the power button to turn it back on.

                      Due to my inability to access the law library, I am unable to finish the reconsideration
             motion and have difficulty finalizing my exhibits for the government without review of the
            federal rules of evidence and caselaw for precedent in this district/circuit.

                      Accordingly, I ask the Court to order the MDC to press the power button on the law
             library computer so I can spend a few hours reviewing cases referenced in the government's
            reconsideration opposition, search for relevant cases and cites for my reply, and finalize the
            submission to close out the motion; I therefore also request extension of time to file my reply
            until the MDC provides me adequate access to the law library to perform this work.

                      I also ask the Court for permission to provide my first defense exhibit notification to the
            government in writing with a list of defense exhibits corresponding to discovery files, 3500
            materials, and other documents in the government's possession. I then ask the Court to
            authorize me to bring my laptop on Friday to provide the government a complete defense
            exhibit list (but ask for the ability to supplement as need arises).
The Court is extremely disappointed to hear that the law library computer remains an issue.
Defendant's deadline to file his reply in support of his motion for reconsideration is GRANTED. Any   Respectfully submitted,
reply shall be filed by the beginning of the pretrial conference on June 8, 2022. No further




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extensions will be granted, and if no reply is filed by that date the Court will address the motion
                                                                                                        Joshua Adam Schulte
without further briefing. In the meantime, the Government should work with the MDC on June 7,
2022 to ensure that the law library computer is operational. As to the exhibit list, as it does not
require legal research, Defendant's motion is DENIED. He must provide his list to the Government
on June 8, 2022 as previously ordered. He may bring his laptop to the conference on June 8, 2022
for that purpose. SO ORDERED.

                                                                               June 7, 2022
